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8                             UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   P.I.C. INTERNATIONAL, INC., d.b.a.                  Case No.: 19cv734-BEN-LL
     H2Odyssey,
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                                        Plaintiff,       CASE MANAGEMENT ORDER
13                                                       REGULATING DISCOVERY AND
     v.                                                  OTHER PRETRIAL PROCEEDINGS
14
                                                         IN A PATENT CASE
     GOOPER HERMETIC, LTD., et al.,
15
                                     Defendants.
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           On August 20, 2019, the Court held an Early Neutral Evaluation Conference
18
     (“ENE”) in the above-entitled action. Settlement of the case could not be reached during
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     the ENE and the Court therefore conducted a Case Management Conference pursuant to
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     Rule 16.1(d) of the Local Rules. After consulting with the attorneys of record for the
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     parties and being advised of the status of the case, and good cause appearing, IT IS
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     HEREBY ORDERED:
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           1.     The Parties must file a joint motion for a protective order, which includes
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     the terms of their agreement for handling confidential documents and information, on or
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     before September 5, 2019.
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           2.     A telephonic, attorneys-only Case Management Conference (“CMC”) will
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     be held on October 1, 2019 at 9:00 a.m. to discuss the status of the Parties’ settlement
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1    efforts. Plaintiff’s counsel shall coordinate and initiate the conference call by calling
2    chambers with all relevant participants on the line.1
3             3.    On or before October 21, 2019, each party opposing a claim of infringement
4    shall serve Invalidity Contentions pursuant to Patent L.R. 3.3 and produce documents as
5    required by Patent L.R. 3.4.
6             4.    On or before November 18, 2019, the parties shall exchange Preliminary
7    Claim Constructions pursuant to Patent L.R. 4.1(a) and identify extrinsic evidence as
8    required by Patent L.R. 4.1(b).
9             5.    On or before December 2, 2019, the parties shall exchange Responsive
10   Claim Constructions pursuant to Patent L.R. 4.1(c) and identify extrinsic evidence as
11   required by Patent L.R. 4.1(d).
12            6.    On or before December 16, 2019, parties shall complete and file a Joint
13   Claim Construction Chart, Joint Claim Construction Worksheet, and Joint Hearing
14   Statement pursuant to Patent L.R. 4.2.
15            7.    All discovery intended for use in the Claim Construction Hearing must be
16   completed by January 20, 2020. See Patent L.R. 4.3.
17            8.    The deadline for filing, as of right, Amended Invalidity Contentions by the
18   party opposing infringement is January 20, 2020. See Patent L.R. 3.6(b)
19            9.    On or before February 3, 2020, the parties must file simultaneously their
20   Opening Claim Construction Briefs. See Patent L.R. 4.4(a).
21            10.   On or before February 18, 2020, the parties must file simultaneously their
22   Responsive Claim Construction Briefs. See Patent L.R. 4.4(b).
23            11.   The Claim Construction and tutorial hearing will be held March 5, 2020, at
24   9:30 a.m. before the Honorable Roger T. Benitez. See Patent L.R. 4.5.
25            12.   Not later than thirty (30) days after the filing of the Claim Construction
26   Order, any party relying upon advice of counsel as part of a patent-related claim or
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1    defense for any reason must make the disclosures required by Patent L.R. 3.7
2          13.    A party opposing a claim of infringement must serve final amended
3    invalidity contentions, within the meaning of Patent L.R. 3.6(b)(2), not later than fifty
4    (50) days after service of the Court’s Claim Construction ruling.
5          14.    The initial date for the substantial completion of document discovery
6    including electronically stored information (“ESI”) is May 4, 2020. See Patent L.R.
7    2.1(a)(1).
8          15.    All fact discovery shall be completed by all parties on or before July 3,
9    2020. “Completed” means that all discovery under Rules 30-36 of the Federal Rules of
10   Civil Procedure, and discovery subpoenas under Rule 45, must be initiated a sufficient
11   period of time in advance of the cut-off date, so that it may be completed by the cut-off
12   date, taking into account the times for service, notice, and response as set forth in the
13   Federal Rules of Civil Procedure.
14         Counsel shall promptly and in good faith meet and confer with regard to all
15   discovery disputes in compliance with Federal Rule of Civil Procedure 37(a)(1) and Civil
16   Local Rule 26.1(a). The Court expects counsel to make every effort to resolve all disputes
17   without court intervention through the meet and confer process. All discovery motions
18   must be filed within 30 days of the service of an objection, answer or response which
19   becomes the subject of dispute or the passage of a discovery due date without response or
20   production, and only after counsel have met and conferred and have reached impasse
21   with regard to the particular issue. The Court’s procedures for resolving discovery
22   disputes are set forth in Magistrate Judge Linda Lopez’s Civil Chambers Rules, which are
23   posted on the Court’s website. A failure to comply in this regard will result in a
24   waiver of a party's discovery issue. Absent an order of the court, no stipulation
25   continuing or altering this requirement will be recognized by the court.
26         16.    Plaintiff(s) (or the party(ies) having the burden of proof on any claim) shall
27   serve on all parties a list of experts whom that party expects to call at trial on or before
28   May 4, 2020. Defendant(s) (or the party(ies) defending any claim, counterclaim,

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1    crossclaim, or third party claim) shall serve on all parties a list of experts whom that party
2    expects to call at trial on or before May 4, 2020. On or before May 26, 2020, any party
3    may supplement its designation in response to any other party’s designation, so long as
4    that party has not previously retained an expert to testify on that subject.
5          17.    All expert disclosures required by Fed. R. Civ. P. 26(a)(2)(B) and Fed. R.
6    Civ. P. 26(a)(2)(C) shall be served on all parties on or before July 31, 2020. Any
7    contradictory or rebuttal disclosures within the meaning of Rule 26(a)(2)(D)(ii) shall be
8    disclosed on or before August 28, 2020. Unless otherwise stipulated by the parties, the
9    required expert disclosures shall include an expert report as required by Rule 26(a)(2)(B).
10   If a written report is not required, the disclosure must provide the information required
11   under Rule 26(a)(2)(c).
12         18.    All expert discovery shall be completed by all parties on or before
13   September 25, 2020. The parties shall comply with the same procedures set forth in the
14   paragraph governing fact discovery
15         19.    All other dispositive motions, including those addressing Daubert issues,
16   shall be FILED on or before October 9, 2020. Please be advised that counsel for the
17   moving party must obtain a motion hearing date from the law clerk of the judge who will
18   hear the motion. Failure of counsel to timely request a motion date may result in the
19   motion not being heard. Motions in Limine are to be filed as directed in the Local Rules,
20   or as otherwise set by the Honorable Roger T. Benitez.
21         20.    Briefs or memoranda in support of or in opposition to any pending motion
22   shall not exceed twenty-five (25) pages in length without permission of the judge or
23   magistrate judge who will hear the motion. No reply memorandum shall exceed ten (10)
24   pages without leave of the judge or magistrate judge who will hear the motion.
25         21.    A Mandatory Settlement Conference shall be conducted on April 6, 2020 at
26   9:30 a.m. in the chambers of Magistrate Judge Linda Lopez located at 221 West
27   Broadway, Suite 2140, San Diego, CA 92101. All discussions at the Mandatory
28   Settlement Conference will be informal, off the record, privileged, and confidential.

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1    Counsel for any non-English speaking party is responsible for arranging for the
2    appearance of an interpreter at the conference.
3           a.      Personal Appearance of Parties Required: All parties, adjusters for insured
4    defendants, and other representatives of a party having full and complete authority to enter
5    into a binding settlement, as well as the principal attorneys responsible for the litigation,
6    must be present in person and legally and factually prepared to discuss settlement of the
7    case. Counsel appearing without their clients (whether or not counsel has been given
8    settlement authority) will be cause for immediate imposition of sanctions and may also
9    result in the immediate termination of the conference.
10          Unless there is good cause, persons required to attend the conference pursuant to this
11   Order shall not be excused from personal attendance. Requests for excuse from attendance
12   for good cause shall be made in writing at least three (3) court days prior to the conference.
13   Failure to appear in person at the Mandatory Settlement Conference will be grounds for
14   sanctions.
15          b.      Full Settlement Authority Required: In addition to counsel who will try the
16   case, a party or party representative with full settlement authority2 must be present for the
17   conference.      In the case of a corporate entity, an authorized representative of the
18   corporation who is not retained outside counsel must be present and must have
19   discretionary authority to commit the company to pay an amount up to the amount of
20   Plaintiff’s prayer (excluding punitive damages prayers). The purpose of this requirement
21   is to have representatives present who can settle the case during the course of the
22   conference without consulting a superior. Counsel for a government entity may be excused
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       “Full settlement authority” means that the individuals at the settlement conference must be authorized to
25   explore settlement options fully and to agree at that time to any settlement terms acceptable to the parties.
     Heileman Brewing Co. v. Joseph Oat Corp., 871 F.2d 648, 653 (7th Cir. 1989). The person needs to have
26   “unfettered discretion and authority” to change the settlement position of a party. Pitman v. Brinker Int’l,
     Inc., 216 F.R.D. 481, 485-86 (D. Ariz. 2003). The purpose of requiring a person with unlimited settlement
27   authority to attend the conference contemplates that the person’s view of the case may be altered during
     the face to face conference. Id. at 486. A limited or a sum certain of authority is not adequate. See Nick
28   v. Morgan’s Foods, Inc., 270 F.3d 590, 595-97 (8th Cir. 2001).

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1    from this requirement so long as the government attorney who attends the Mandatory
2    Settlement Conference (1) has primary responsibility for handling the case, and (2) may
3    negotiate settlement offers which the attorney is willing to recommend to the government
4    official having ultimate settlement authority.
5             c.   Confidential Settlement Statements Required: No later than March 27,
6    2020, the parties shall submit directly to Magistrate Judge Lopez’s chambers (via email or
7    hand delivery c/o the Clerk’s Office) confidential settlement statements no more than ten
8    (10) pages in length. These confidential statements shall not be filed or served on
9    opposing counsel. Each party’s confidential statement must set forth the party’s statement
10   of the case, identify controlling legal issues, concisely set out issues of liability and
11   damages, and shall set forth the party’s settlement position, including any previous
12   settlement negotiations, mediation sessions, or mediation efforts, the last offer or demand
13   made by that party, and a separate statement of the offer or demand the party is prepared
14   to make at the settlement conference. If a specific demand or offer for settlement cannot
15   be made at the time the brief is submitted, then the reasons therefore must be stated along
16   with a statement as to when the party will be in a position to state a demand or make an
17   offer. General statements that a party will “negotiate in good faith” is not a specific demand
18   or offer contemplated by this Order. It is assumed that all parties will negotiate in good
19   faith.
20            d.   Requests to Continue a Mandatory Settlement Conference: Any request
21   to continue the Mandatory Settlement Conference or request for relief from any of the
22   provisions or requirements of this Order must be sought by a written joint motion or ex
23   parte application. The application must (1) be supported by a declaration of counsel
24   setting forth the reasons and justifications for the relief requested, (2) confirm compliance
25   with Civil Local Rule 83.3(h), and (3) report the position of opposing counsel or any
26   unrepresented parties subject to the Order. Absent good cause, requests for continuances
27   will not be considered unless submitted in writing no fewer than (7) days prior to the
28   scheduled conference.

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1          If the case is settled in its entirety before the scheduled date of the conference,
2    counsel and any unrepresented parties must still appear in person, unless a written
3    joint notice confirming the complete settlement of the case is filed no fewer than
4    twenty-four (24) hours before the scheduled conference.
5          22.    In order to identify the claims to be tried and eliminate delay and surprise at
6    trial, the Court enters the following pretrial order pursuant to Fed. R. Civ. P. 16.
7          23.    Parties are excused from the requirement of Local Rule 16.1(f)(2)(a); no
8    Memoranda of Law or Contentions of Fact are to be filed.
9          24.    All parties or their counsel shall fully comply with the Pretrial Disclosure
10   requirements of Fed. R. Civ. P. 26(a)(3) on or before November 16, 2020. Failure to
11   comply with these disclosures requirements could result in evidence preclusion or other
12   sanctions under Fed. R. Civ. P. 37.
13         25.    On or before November 16, 2020, the parties shall submit directly to
14   Magistrate Judge Lopez’s chambers (via email address or hand delivery c/o the Clerk’s
15   Office) a joint statement regarding their willingness to participate in another settlement
16   conference prior to trial. The statement shall not exceed more than one (1) page in
17   length.
18         26.    Pursuant to Local Civil Rule 16.1(f)(4), on or before November 23, 2020,
19   the parties shall meet and confer to comply with the provisions of that section and
20   prepare a proposed pretrial order in accordance with Local Rule 16.1(f)(6)(c), and
21   containing the following:
22                a.     A joint neutral statement to be read to the jury, not in excess of one
23   page, of the nature of the case and the claims and defenses.
24                b.     A list of the causes of action to be tried, referenced to the Complaint
25   [and Counterclaim if applicable]. For each cause of action, the order shall succinctly list
26   the elements of the claim, damages and any defenses. A cause of action in the Complaint
27   [and/or Counterclaim] which is not listed shall be dismissed with prejudice.
28                c.     A list, in alphabetical order, of:

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1                         i.      Each witness counsel actually expect to call at trial with a brief
2                                 statement, not exceeding four sentences, of the substance of the
3                                 witnesses’ testimony.
4                        ii.      Each expert witness counsel actually expect to call at trial with
5                                 a brief statement, not exceeding four sentences, of the substance
6                                 of the expert witnesses’ testimony.
7                       iii.      Additional witnesses, including experts, counsel do not expect
8                                 to call at this time but reserve the right to call at trial along with
9                                 a brief statement, not exceeding four sentences, of the substance
10                                of the witnesses’ testimony.
11                 d.      A list of:
12                        i.      All exhibits that counsel actually expect to offer at trial with a
13                                one-sentence description of the exhibit. All exhibits are to be
14                                identified numerically, plaintiff starting with “1” and defendant
15                                beginning with an agreed upon numerical designation.
16                       ii.      All other exhibits that counsel do not expect to offer at this time
17                                but reserve the right to offer if necessary at trial with a one-
18                                sentence description of the exhibit.
19                 e.      A statement of all facts to which the parties stipulate. This statement
20   shall be on a separate page and will be read to and provided to the jury.
21                 f.      A list of all deposition transcripts by page and line, or videotape
22   depositions by section, that will be offered at trial.
23                 g.      Counsel will note any objections they have to any other parties’ Fed.
24   R. Civ. P. 26 (a)(3) Pretrial Disclosures.
25         The Court encourages the parties to consult with the assigned magistrate judge to
26   work out any problems in preparation of the proposed pretrial order. Judge Roger T.
27   Benitez will entertain any questions concerning the conduct of the trial at the pretrial
28   conference.

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1          27.     Counsel for plaintiff will be responsible for preparing the pretrial order and
2    arranging the meetings of counsel pursuant to Civil Local Rule 16.1(f)(6)(a). On or
3    before November 30, 2020, plaintiff’s counsel must provide opposing counsel with the
4    proposed pretrial order for review and approval. Opposing counsel must communicate
5    promptly with plaintiff’s attorney concerning any objections to form or content of the
6    pretrial order, and both parties should attempt promptly to resolve their differences, if
7    any, concerning the order.
8          28.     The proposed final pretrial conference order, including objections counsel
9    have to any other party’s Fed. R. Civ. P. 26(a)(3) Pretrial Disclosures shall be prepared,
10   served and lodged with Judge Roger T. Benitez’s chambers on or before December 7,
11   2020, and shall be in the form prescribed in and in compliance with Local Rule
12   16.1(f)(6)(c). Counsel shall also bring a court copy of the pretrial order to the pretrial
13   conference.
14         29.     The final pretrial conference shall be held before the Honorable Roger T.
15   Benitez, United States District Court Judge, on December 14, 2020 at 10:30 a.m., during
16   which time the Court will address the submission of motions in limine, trial briefs,
17   proposed voir dire and jury instructions and the trial schedule.
18         30.     The dates and times set forth herein will not be modified except for good
19   cause shown.
20         31.     Plaintiff’s counsel shall serve a copy of this order on all parties that enter
21   this case hereafter.
22         IT IS SO ORDERED.
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24   Dated: August 21, 2019
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